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                       Exhibit 6
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        Infringement Claim Chart for U.S. Pat. No. US10237420B1 v. Rent-a-Wreck (“Defendant”)
      Claim 20                                                Evidence

20. A method of        The Rent-a-Wreck customer service platform performs a method of processing
processing requests,   requests.
comprising:
                       For example, the customer service platform performs a method of connecting
                       requests for assistance, made by callers, to agents that provide the assistance.




                       Source: https://www.rentawreck.com/contact.htm




                       Source: https://www.rentawreck.com/helpful-information.htm


                                                     1
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estimating at least     The Rent-a-Wreck customer service platform estimates a content-specific or a
one content-specific    requestor-specific characteristic associated with each received request.
or requestor-specific
characteristic          For example, the customer service platform uses information provided by the caller,
associated with each    such as through interactive voice responses, email and chatbots to determine the
received request;       nature of the call.




                        Source: https://www.rentawreck.com/initchat.html




                        Source: https://www.rentawreck.com/helpful-information.htm

                                                      2
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                     Source: https://www.rentawreck.com/contact.htm

determining          The Rent-a-Wreck customer service platform determines the availability of multiple
availability of a    alternate target resources, each of which has a target characteristic.
plurality of
alternate target     For example, the customer service platform determines agents that are available to
resources, each      handle the call based, at least in part, on the current availability and skill set of each
respective target    agent (e.g. language).
resource having at
least one
respective target
characteristic;




                     Source: https://www.rentawreck.com/contact.htm

                                                    3
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                        Source: https://www.rentawreck.com/helpful-information.htm




                        Source: https://www.rentawreck.com/helpful-information.htm

evaluating, with at     The Rent-a-Wreck customer service platform evaluates, with an automated
least                   processor, multiple alternate allocations of the received request with different
one automated proce     available targets. The evaluation is done according to a ranking that is dependent on
ssor, a plurality of    a probabilistic predictive multivariate evaluator. The evaluator is based on the
alternate allocations   content-specific or requestor-specific characteristic, and the respective target
of the respective       characteristic of the multiple alternate target resources.
received request
with different          For example, the customer service platform uses the nature of the call and the
available targets,      availability and skill set of the agents to determine which possible allocation of the
according to a          call to a given agent will have the best likelihood of a positive outcome for the caller.
ranking dependent
on

                                                      4
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a probabilistic predict
ivemultivariate evalu
ator, based on the at
least one content-
specific or requestor-
specific
characteristic, and
the
respective target cha
racteristics of the
plurality of
alternate target reso
urces; and
                          Source: https://www.rentawreck.com/helpful-information.htm




                          Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




                                                        5
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                       Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts

generating             The automated processor of the Rent-a-Wreck customer service platform generates a
a control signal, by   control signal to control the allocation of the received request with the different
the at least           available targets. Generation of the control signal is selectively dependent on the
one automated proce    evaluation result.
ssor, selectively
dependent on           For example, the customer service platform generates a control signal to connect the
the evaluating,        call with the agent who is most likely to result in a positive outcome for the caller in
to control the         view of other factors such as overall throughput of the customer service platform and
allocations of the     the priority and requirements of other concurrent calls.
respective received
request with the
different
available targets.




                                                     6
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         Source: https://www.rentawreck.com/helpful-information.htm




         Source: https://www.rentawreck.com/helpful-information.htm




         Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




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